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10
                          UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
13   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
14                                        COUNTER-DEFENDANT TAULER
15                                        SMITH LLP’S REPLY IN SUPPORT OF
                                          ITS MOTION OBJECTING TO
16                                        MAGISTRATE JUDGE SKOMAL’S
17                                        OCTOBER 14, 2020 ORDER (ECF 311)
18                                        Judge:     Hon. Gonzalo P. Curiel
19                                        Courtroom: Courtroom 2D
20                                        Hearing Date:    December 18, 2020
21                                        Hearing Time:    1:30 p.m.
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      TAULER SMITH LLP’S REPLY I/S/O ITS MOTION OBJECTING TO MAGISTRATE JUDGE
                     SKOMAL’S OCTOBER 14, 2020 ORDER (ECF 311)
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 1         Like the Joint Opposition submitted by the Stores and Outlaw (ECF # 337), Tauler
 2 Smith will keep its response short and to the point.
 3         Of course, Tauler Smith disagrees with the Joint Opposition—including its
 4 distracting attempt to cast the underlying motion (ECF # 315) as a “frivolous” and
 5 “repetitive” filing—but respectfully emphasizes to the Court that the request at issue (to
 6 reopen discovery) is predicated on fairness. Tauler Smith is not seeking to reopen
 7 discovery to go on a fishing expedition, to delay trial in this case, or for some other
 8 improper purpose. Instead, Tauler Smith requests that discovery be reopened for the very
 9 limited purpose of inquiring into a recent, highly unusual settlement agreement between
10 the Stores and Outlaw (the “Settlement Agreement”).
11         As explained in the motion (ECF # 315)—and entirely ignored by the Opposition—
12 months after the close of discovery, Tauler Smith learned for the first time that its former
13 client (Outlaw) negotiated a highly unusual Settlement Agreement with the Stores. Not
14 only was the Settlement Agreement predicated on Outlaw providing favorable testimony
15 against Tauler Smith, but the Stores apparently recorded secret interviews of Outlaw’s
16 principals in June 2020. Other than the text of the Settlement Agreement itself, Tauler
17 Smith does not know anything about the nature and circumstances behind the settlement.
18 Tauler Smith does not know what those secret recordings reveal. Tauler Smith does not
19 know, for example, why or when its former client (Outlaw) decided to align itself with the
20 other side, or what other promises the Stores made to Outlaw. And in the context of this
21 case—where a law firm (Tauler Smith) is accused of violating duties it owed to its former
22 client (Outlaw) and operating a rogue extortion scheme—fairness would suggest Tauler
23 Smith be permitted to take the limited discovery it seeks. To the extent the Stores and
24 Outlaw are concerned about the additional expense associated with discovery, the Court
25 can place limits on the scope of the discovery sought (consistent with Tauler Smith’s initial
26 request), while at the same time ensuring that Tauler Smith has all the information it needs
27 to present a full and fair defense.
28         As for the specific points raised in the Joint Opposition:
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       TAULER SMITH LLP’S REPLY I/S/O ITS MOTION OBJECTING TO MAGISTRATE JUDGE
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 1         The Joint Opposition Overlooks that Magistrate Judge Skomal’s Order Relied
 2 (At Least in Part) on the Wrong Standard. It is clear from the challenged Order by
 3 Magistrate Judge Skomal (ECF # 311, the “Order”) that in considering whether to reopen
 4 discovery, Judge Skomal conflated the six-factor City of Pomona v. SQM N. Am., 866 F.3d
 5 1060 (9th Cir. 2017) test (the correct standard of review) with the excusable neglect
 6 standard (a standard that has no application here). After all, Tauler Smith’s justification
 7 for reopening discovery is not based on neglect, but based instead on newly discovered
 8 facts—i.e., a secret settlement that (i) was negotiated under unusual circumstances, (ii)
 9 includes suspicious provisions (e.g., secret recordings and promised, favorable testimony),
10 and (iii) was revealed for the first time after the close of discovery.
11         The Joint Opposition Misunderstands and Mischaracterizes Tauler Smith’s
12 Arguments. In determining that Tauler Smith was not entitled to seek discovery into the
13 Settlement Agreement, Judge Skomal emphasized that parties are not generally entitled to
14 discovery into another party’s settlement agreement. See ECF # 11 at PageID.7774. While
15 that statement may be true in the abstract, it respectfully overlooks the circumstances in
16 this case. This is a unique and unusual case involving a questionable settlement that
17 implicates the settling party’s former attorney (Tauler Smith), and where discovery into
18 that settlement is likely to lead to evidence that would help in Tauler Smith’s defense. The
19 Joint Opposition misses this point.
20         The Joint Opposition Confuses the Standard of Review. The underlying motion
21 (ECF # 315) is a formal objection to Judge Skomal’s Order. Objections to a magistrate
22 judge’s findings or recommendations are reviewed de novo. United States v. Raddatz, 447
23 U.S. 667, 673 (1980); Fed. R. Civ. P. 72(b); see also Fed. R. Civ. P. 72(a) (in reviewing a
24 magistrate judge’s findings, the district court “must consider timely objections and modify
25 or set aside any part of the order that is clearly erroneous or is contrary to law.”). It is
26 unclear why the Joint Opposition suggests a different standard (clear error) applies.
27         The Joint Opposition Intentionally Ignores that the City of Pomona Factors
28 Weigh Heavily in Favor of Tauler Smith’s Request.                    Tauler Smith’s motion
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       TAULER SMITH LLP’S REPLY I/S/O ITS MOTION OBJECTING TO MAGISTRATE JUDGE
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 1 demonstrates why each of the six factors articulated in City of Pomona fall in favor of
 2 reopening discovery. For example, trial is not imminent (and possibly even delayed further
 3 due to the COVID pandemic), no party will be prejudiced by the request (especially with
 4 Court-imposed limits on the discovery sought), Tauler Smith has been diligent in seeking
 5 this discovery (it filed its first motion just two weeks after learning about the Settlement
 6 Agreement), Tauler Smith could not have anticipated the need for this discovery any earlier
 7 (it only recently discovered the settlement), and the discovery will unquestionably lead to
 8 relevant evidence (e.g., the motivations, intent, and influences behind the settlement).
 9        For all these reasons, and for the reasons explained in the motion, Tauler Smith
10 respectfully requests the Court overturn Magistrate Judge Skomal’s Order and permit
11 Tauler Smith to take the limited discovery it seeks.
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13 DATED: December 9, 2020                 Respectfully submitted,

14                                         KJC LAW GROUP, A.P.C.
15                                  By:    /s/ Kevin J. Cole
16                                         Attorneys for Counter-Defendant
                                           Tauler Smith LLP
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       TAULER SMITH LLP’S REPLY I/S/O ITS MOTION OBJECTING TO MAGISTRATE JUDGE
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